     Case 2:15-cr-00975 Document 199 Filed on 07/19/21 in TXSD Page 1 of 4
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  July 19, 2021
                       UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                          CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                   §
 Plaintiff,                                 §
                                            §
         v.                                 §           CRIMINAL NO. 2:15-975-1
                                            §
ARMANDO BAZAN,                              §
 Defendant.                                 §

                       MEMORANDUM OPINION & ORDER

      Pending before the Court is Defendant Armando Bazan’s Emergency Motion for

Reduction or Modification of Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i)

Pertaining to COVID-19 (D.E. 194), which the Court construes as a motion to reconsider

its prior order denying compassionate release. For the reasons stated below, the motion is

DENIED.

I. BACKGROUND

      In 2016, Defendant pled guilty to conspiracy to possess with intent to distribute

more than 1,000 kilograms of marijuana and conspiracy to commit money laundering. He

has served roughly 66 months (42%) of his 157-month sentence and has a projected

release date, after good time credit, of January 31, 2027. Defendant previously moved the

Court to reduce his sentence to time served and/or order his release to home confinement

because his underlying medical conditions (hypertension and heart disease) made him

particularly vulnerable to severe illness or death should he contract COVID-19 while in

prison. The Court denied the motion on the grounds that: (1) Defendant’s medical records

revealed he had no history of hypertension or heart disease; and (2) he previously



                                            1
     Case 2:15-cr-00975 Document 199 Filed on 07/19/21 in TXSD Page 2 of 4




contracted the novel coronavirus in July of 2020 and was asymptomatic the entire three

weeks has was in isolation. D.E. 193. In his current motion—which does not mention the

Court’s prior order denying compassionate release—Defendant moves the Court to

reduce his sentence to time served “due to the unprecedented COVID-19 pandemic that is

ravaging the country.” D.E. 194, p. 1.

II. ANALYSIS

       As the Fifth Circuit recently explained:

              [C]ourts around the country, in some exceptional cases, have
              granted compassionate release where the defendant has
              demonstrated an increased risk of serious illness if he or she
              were to contract COVID. . . . But that is certainly not a
              unanimous approach to every high-risk inmate with
              preexisting conditions seeking compassionate release.

              The courts that granted compassionate release on those bases
              largely have done so for defendants who had already served
              the lion’s share of their sentences and presented multiple,
              severe, health concerns. . . . Fear of COVID doesn’t
              automatically entitle a prisoner to release.

United States v. Thompson, 984 F.3d 431, 434–35 (5th Cir. 2021) (collecting cases)

(internal footnotes and citations omitted).

       Defendant still has offered no evidence that he suffers from any underlying

medical condition that would make him particularly vulnerable to COVID-19, and his

prior asymptomatic infection belies his claim that he is at a substantial risk of death from

the disease. He also fails to explain how releasing him from prison now would prevent

any potential long-term effects of the virus. Moreover, even assuming Defendant is not




                                              2
      Case 2:15-cr-00975 Document 199 Filed on 07/19/21 in TXSD Page 3 of 4




immune to reinfection,1 FCI Three Rivers, where Defendant is incarcerated, currently has

zero active COVID-19 cases among inmates. See https://www.bop.gov/coronavirus/ (last

visited July 16, 2021). The BOP is also working with the CDC and the federal

government’s COVID-19 Vaccine/Therapeutics Operation to ensure the COVID-19

vaccine is “available to all staff and inmates who wish to receive it as quickly as

possible.” Id. Currently, 773 out of 1162 inmates at FCI Three Rivers have been fully

vaccinated against COVID-19. Id. If Defendant has not already been offered a vaccine,

he will be soon. On this record, the Court finds that extraordinary and compelling reasons

do not exist that would warrant compassionate release. See United States v. Jenkins,

2021 WL 2018976, at * 4 (May 18, 2021) (Rainey, J.) (citing United States v. Davis,

2021 WL 1382119, at *2 (D.N.J. Apr. 12, 2021) (“As vaccine access expands to inmates

at FDC Philadelphia, the risk that Davis will contract a serious case of COVID-19

continues to decrease.”); United States v. Kaneshiro, 2021 WL 1138058, at *3 (D. Haw.

Mar. 24, 2021) (“The possible availability of the vaccine in the near future is therefore

not something that [t]his court can ignore in ruling on Kaneshiro’s compassionate release

request.”)).

        Defendant further emphasizes that he has been rehabilitated in prison, as evinced

by his participation in evidence-based recidivism reduction programming, involvement in

religious activities, and work as an electrician, commissary trustee, church volunteer, and

         1. In a recent study funded in part by the National Institute of Health’s National Institute of Allergy and
Infectious Diseases and National Cancer Institute, “The researchers found durable immune responses in the majority
of people studied . . . The immune systems of more than 95% of people who recovered from COVID-19 had durable
memories of the virus up to eight months after infection.” Lasting immunity found after recovery from COVID-19,
NIH (Jan. 26, 2021), https://www.nih.gov/news-events/nih-research-matters/lasting-immunity-found-after-recovery-
covid-19.



                                                         3
     Case 2:15-cr-00975 Document 199 Filed on 07/19/21 in TXSD Page 4 of 4




hurricane clean-up volunteer. Defendant’s efforts at rehabilitation are commendable;

however, while the Court is permitted to consider post-sentencing rehabilitation in

determining whether to grant an eligible defendant a sentence reduction, it is not

authorized to grant a reduction based upon post-sentencing rehabilitation alone. See

U.S.S.G. § 1B1.10, app. n.1(B)(iii).

III. CONCLUSION

      For the reasons set forth above, Defendant’s Emergency Motion for Reduction or

Modification of Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) Pertaining to COVID-

19 (D.E. 194) is DENIED.

                        July 19, 2021
      So ORDERED on ____________________________.



                                                 _______________________________
                                                    NELVA GONZALES RAMOS
                                                UNITED STATES DISTRICT JUDGE




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